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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       8:04CR469
       vs.                                            )
                                                      )       PRELIMINARY ORDER
JOSE GUSTAVO RUBIO,                                   )       OF FORFEITURE
                                                      )
                       Defendant.                     )

       This matter is before the Court on the United States' Motion for Issuance of Preliminary

Order of Forfeiture and Memorandum Brief (Filing No. 69). The Court reviews the record in this

case and, being duly advised in the premises, finds as follows:

       1. The Defendant, Jose Gustavo Rubio, has pleaded guilty to Counts I and II of an

Information.    Count I of the Information charges Rubio with conspiracy to distribute

methamphetamine, a violation of 21 U.S.C. § 846. Count II of the Information charges the

Defendant with using one 1991 Ford Expedition, VIN 1FMPU18L2XLA91218, and one 2000

Chevrolet Impala, VIN 2G1WH55KXY9327770 to facilitate the commission of the conspiracy and

charges said personal properties are derived from proceeds obtained directly or indirectly as a result

of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendant, Jose Gustavo Rubio, forfeits his interest

in the subject properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.
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        IT IS THEREFORE ORDERED:

        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing No.

69) is hereby sustained as to the Defendant Jose Gustavo Rubio.

        B. Based upon Count II of the Information and the Defendant's plea of guilty, the United

States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the following-

described properties: one 1991 Ford Expedition, VIN 1FMPU18L2XLA91218, and one 2000

Chevrolet Impala, VIN 2G1WH55KXY9327770

        C. The Defendant's interest in said properties is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.,

§ 853(n)(1).

        D. The aforementioned forfeited properties are to be held by the Marshal in his secure

custody and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least once for

three successive weeks in a newspaper of general circulation, in the county where the subject

properties are situated, notice of this Order, notice of the Marshal's intent to dispose of the properties

in such manner as the Attorney General may direct, and notice that any person, other than the

Defendant, having or claiming a legal interest in any of the subject forfeited properties must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the properties, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the


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Petitioner's right, title or interest in the subject properties and any additional facts supporting the

Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 25th day of April, 2005.

                                                        BY THE COURT:



                                                         s/ Laurie Smith Camp
                                                        United States District Judge




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